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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 STANDING ROCK SIOUX TRIBE,

       Plaintiff,

       and

 CHEYENNE RIVER SIOUX TRIBE,

       Plaintiff-Intervenor,


               v.                                     Civil Action No. 16-1534 (JEB) (and
                                                      Consolidated Case Nos. 16-1769 and
                                                      16-267)
 U.S. ARMY CORPS OF ENGINEERS,

       Defendant,

       and

 DAKOTA ACCESS, LLC,

       Defendant-Intervenor and Cross-
       Claimant.




                                         ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

   1. Plaintiff Yankton Sioux Tribe’s [292] Motion for Partial Summary Judgment is

      DENIED;

   2. Defendant U.S. Army Corps of Engineers’ [320] Corresponding Cross-Motion for Partial

      Summary Judgment is GRANTED;


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   3. Defendant-Intervenor Dakota Access LLC’s Corresponding [321] Cross-Motion for

      Partial Summary Judgment is GRANTED; and

   4. Judgment is ENTERED for Defendants as to Count One of Plaintiff’s Complaint and as

      to Plaintiff’s NHPA and NEPA claims.

SO ORDERED.

                                                 /s/ James E. Boasberg
                                                 JAMES E. BOASBERG
                                                 United States District Judge

Date: March 19, 2018




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